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 1   MICHAEL B. BIGELOW
     Attorney at Law SBN 65211
 2
     331 J Street, Suite 200
 3
     Sacramento, CA 95814
     (916) 443-0217
 4   LawOffice.mbigelow@gmail.com

 5   Attorney for Chris ANG
 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     THE UNITED STATES OF AMERICA, ) No. CR. S-08-318 LKK
10                                 )
                    Plaintiff,     ) STIPULATION AND ORDER
11                                 ) TO CONTINUE SENTENCING
          v.                       )
12                                 )
13
     CRIS ANG,                     )
                                   ) Date: 3/20/2012
14                  Defendant.     ) Time: 9:15 a.m.
                                   ) Judge: Hon. Lawrence K. Karlton
15
          It is hereby stipulated between the parties, Assistant United
16

17   States Attorney Russell Carlberg and Michael Bigelow, attorney for

18   CRIS ANG, that the sentencing hearing date should be continued
19
     until March 20, 2012.    This continuance is necessary because
20
     defendant Ang has suffered a very recent and significant medical
21
     setback. It has been suggested by the AUSA Russell Carlberg, after
22

23
     an exchange of emails, that a continuance would be appropriate in

24   order to determine the extent of Mr. Ang’s medical issues and to

25   give the undersigned and opportunity to learn more about them from
26
     Mr. Ang’s primary physician.
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 1   The email received from Clarisa Ang earlier this morning has been
 2
     reproduced here.
 3
          On Feb 21, 2012, at 9:50 AM, Clarisa Ang wrote:
 4
          > Hello Mike
 5        >
          > Cris has been discharged from hospital. The
 6
          neurologist said he had a seizure attack and the MRI and
 7        EEG shows some abnormality in his brain. He's driving
          privlege has been suspended for the next six months. He
 8        is scheduled for a full neurological exam to determine
          the cause of the seizure and prescribed Keppra
 9
          medication to control the seizures. He has been advised
10        not to be alone and be in constant supervision.
          > The medication is causing him to be a disorented and
11        he says it makes him feel "lost" and very moody.   I am
          not to sure if the Keppra is reacting with his other
12        medications but the nurse at UC Davis said it should not
13
          have any bad reaction with his other medications. He is
          now taking over a dozen different types of medications
14        and I am afraid that his upcoming appointment for his
          spinal degeneration treatment will add on more
15        medications.
16
          > Cris has been on temporary disability since September
17        2011 and will probably become permanent. He has
          received an email from his primary doctor (Dr. Paul
18        Seites, UC Davis) that his letter regarding his current
          condition is ready for pick up, but Dr. Seites has
19
          witheld information regarding diagnosis and treatment
20        because of privacy act. Dr. Seites can add in the
          information once Cris signs a release form.
21        > Do you want Cris to sign the release form to have Dr.
          Seites include diagnosis and treatment?
22        >
23
          > Regards
          > Clarisa Ang
24

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 1        For these reasons it is respectfully submitted that this
 2
     stipulation between the parties be granted by the Court
 3

 4

 5   Dated: February 21, 2012                     Respectfully submitted,
 6
                                                  /s/ Michael Bigelow__________
 7                                                MICHAEL BIGELOW
                                                  Attorney for Cris Ang
 8

 9
     Dated:     February 21, 2012                 BENJAMIN WAGNER
10                                                United States Attorney

11                                                /s/ Russell Carlberg____
                                                  RUSSELL CARLBERG
12                                                Assistant U.S. Attorney
13

14

15
                                          ORDER
16

17

18   IT IS SO ORDERD
19

20
     Dated:       February 21, 2012
21                                                ____________________________
                                                  LAWRENCE K. KARLTON
22                                                SENIOR JUDGE
23
                                                  UNITED STATES DISTRICT COURT

24

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